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Case 1:04-cv-10981-PBS Document 1450-4 Filed 10/01/08 Page 2 of 3

ANNENBERG CENTER FOR HEALTH SCIENCES

CME GUIDELINES FOR THE DISTRIBUTION OF EDUCATIONAL MATERIALS
Advances in the Preventive Treatment of Migraine

-Parke-Davis has provided an unrestricted educational grant to support a continuing medical
education program entitled, “Advances in the Preventive Treatment of Migraine”. This program is
sponsored by the Annenberg Center for Health Sciences at Eisenhower, in cooperation with
Proworx. This offering is an audiotape program eligible for 1 hour of CME credit.

A needs assessment was conducted which confirmed both the worthiness of this topic and the high
level of interest. It highlights the importance of diagnosis and the treatment of migraine,
synthesizing current research and expert opinions.

It is recognized that perhaps the most powerful means of promotion is direct contact. The
Annenberg Center encourages Parke-Davis sales representatives to participate in raising awareness
by distributing copies of the informational brochure to appropriate physicians in their areas.

The Annenberg Center reminds you that there are rules-of-conduct regarding industry
representatives’ involvement in continuing education activities, and you are asked to comply. with
the following:

Distribution of the brochure must be a separate activity and cannot be done in
conjunction with a sales call.

Parke-Davis representatives should not distribute the actual program. Please refer
interested parties directly to the invitation and instructions. For more information,

_ physicians can contact the Proworx staff at 212.907.4300, or the Annenberg Center
at 800.321.3690.

The Annenberg Center encourages Parke-Davis representatives to keep in mind that
this program is educational in nature, and to conduct their conversations

appropriately.

Thank you for your cooperation and valuable assistance in promoting this educational opportunity
for practitioners in your area.

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Case 1:04-cv-10981-PBS Document 1450-4 Filed 10/01/08 Page 3 of 3

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ANNENBERG CENTER FOR HEALTH SCIENCES

AT EISENHOWER

DRAEY

July 16, 1999

Parke Davis
201 Tabor Road
Morris Plains, NJ 07950

Re: “Advances in the Preventive Treatment of Migraine”
Dear:

On behalf of the Annenberg Center and Proworx, I propose additional funds be allocated
to support additional distribution of the “Advances in the Preventive Treatment of
Migraine” CME enduring material.

This additional cost is § and would enable us to use the Parke-Davis sales
force as a tool to improve dissemination of this educational piece.

Funding for this effort would augment the original grant and agreement with the
Annenberg Center, and should be forwarded to my attention. The Annenberg Center
would work with Proworx, who will see the process through efficiently and in its entirety.

I have attached our guidelines for sales force distribution of educational materials. In the
past, many clients have found this to be a useful document and informational tool for
those in the field.

Certainly, you should call upon Christy De Santis at Proworx or myself should questions
arise.

Sincerely,

Stephen S. Biddle
Director, Continuing Education

SB/jr

ce: Christy De Santis

Eisenhower Medical Center / 39000 Bob Hope Drive / Rancho Mirage, California 92270-3298
760-773-4500 / Toll Free 800-321-3690 / FAX 760-773-4513

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